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                             THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     LUBBOCK DIVISION

VISTA BANK,                                            §
                                                       §
        Plaintiff,                                     §
                                                       §
v.                                                     §     Civil Case No. 5:18-cv-00204-C
                                                       §
FIRST BANCSHARES OF TEXAS, INC.,                       §
a Texas financial institution doing business           §
as FIRSTCAPITAL BANK OF TEXAS,                         §
N.A., BRAD BURGESS, and KENNETH                        §
L. BURGESS, JR.,                                       §
                                                       §
        Defendants.                                    §

 APPENDIX IN SUPPORT OF DEFENDANTS FIRST BANCSHARES OF TEXAS, INC.
 AND FIRSTCAPITAL BANK OF TEXAS, N.A.’S MOTION TO DISMISS AND BRIEF
                            IN SUPPORT

        Defendants First BancShares of Texas, Inc. and FirstCapital Bank of Texas, N.A., submit

this appendix in support of their motion to dismiss and brief in support:

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                                                    Respectfully submitted,

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                                                    BANCSHARES OF TEXAS, INC. AND
                                                    FIRSTCAPITAL BANK OF TEXAS, N.A.




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                                     CERTIFICATE OF SERVICE

        I hereby certify that on September 18, 2018, I electronically filed the foregoing document
with the clerk of court using the electronic filing system. The electronic filing system will send a
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